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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

Case: 2:21-cr-20610

Judge: Goldsmith, Mark A.

MJ: Grand, David R.

Plaintiff Filed: 09-23-2021 At 02:31 PM

. INDI USA V. SEALED MATTER (DA)

United States of America,

V. Violations:

D-1 Chauncey Williams, 18 U.S.C. § 1349

D-2 Mike Chahoua, 18 U.S.C. § 1343

D-3 Antonio Jackson, 18 U.S.C. § 1028A(a)(1)
D-4 Bishop Allen, 18 U.S.C. § 922(a)(6)
D-5 Garcia Moses, 18 U.S.C. § 922G)

D-6 Donte Turner,

D-7 Reginald Small,

D-8 Eshon Rose,

D-9 James Jackson, and
D-10 Emmanuel Stevens,

Defendants.
/

INDICTMENT
THE GRAND JURY CHARGES:
General Allegations

At all times relevant to this Indictment:

I. ONLINE PURCHASE OF FIREARMS

1. Online Firearm Retailer 1 (OFR-1), Online Firearm Retailer
2 (OFR-2), and Online Firearm Retailer 3 (OFR-3) were all Federal

Firearm Licensees (FF Ls) that operated primarily online.

 

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2. The procedure for purchasing a firearm legally from an out
of state or online FFL requires the customer to utilize a local FFL
within the purchaser’s home state to complete the transfer. A firearm
cannot be mailed directly to the purchaser’s residence from out of state;
instead, the online FFL sends the firearm to a local FFL. The local FFL
then completes the actual transfer of the firearm, which includes the
completion of an ATF Form 4473 (Firearms Transaction Record) by the
person receiving the firearm.

3. The Form 4473 is a standardized form that is used to
document a firearm’s transfer, determine if the individual is prohibited
from receiving a firearm, and verify that the individual is the “actual”
transferee/buyer and not a “straw purchaser,” that is, someone illegally
purchasing a firearm on behalf of someone else. In other words, if the
online FFL is in another state, it is not the online FFL’s responsibility
to verify the purchaser’s identity or ability to purchase a firearm. The
local FFL completes the transfer and verifies the requisite information,
including by confirming the transferee’s identity by reviewing his/her

government issued identification.

 

 
 

 

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Il. OBTAINING/USING STOLEN CREDIT CARD
INFORMATION

4. Individuals’ credit card information, including their names,
billing addresses, telephone numbers, account numbers, expiration
dates, and card verification values (CVVs), is typically initially stolen
either in large-scale security breaches of online electronic databases,
such as those held by online retailers, or through the use of “skimmers”
or other devices to surreptitiously read data off of a credit card used at a
retailer. The stolen credit card information is then sold online to other
individuals through various outlets, often on the “dark web,” and often
paid for using cryptocurrency. These individuals purchase the stolen
credit card information intending to use it to purchase goods, either
over the internet or by loading the stolen credit card information onto

physical cards and using them in person.

Ill. THE SCHEME
A. Participants in the Scheme
5. D-1 CHAUNCEY WILLIAMS, D-2 MIKE CHAHOUA, and
D-3 ANTONIO JACKSON were the organizers, leaders, and managers
of the scheme. They obtained stolen credit card information using the

internet, recruited a straw purchaser for a particular purchase,

 
 

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purchased the firearms online using the stolen credit card information,
instructed the straw purchaser to retrieve the firearms once they were
delivered, and in many cases, received the stolen firearms after the
straw purchaser obtained them.

6. D-4 BISHOP ALLEN, D-5 GARCIA MOSES, D-6 DONTE
TURNER, D-7 REGINALD SMALL, D-8 ESHON ROSE, D-9 JAMES
JACKSON, and D-10 EMMANUEL STEVENS were straw purchasers
in the scheme. They provided their information to WILLIAMS,
CHAHOUA, or JACKSON to be used in an online purchase. Then, when
instructed to do so, they went to the local firearm retailer to pick up the
firearms and falsely attested to the fact that they were the actual
transferees/buyers of the firearms. Once the transaction was complete,
they would often keep one or more of the firearms as payment and give
the remaining firearms to WILLIAMS, CHAHOUA, or JACKSON.

B. Purpose of the Scheme

7. The purpose of the scheme was to illegally obtain firearms to
use, possess, and sell for profit, by using stolen credit card information

online, and by using straw purchasers to receive the firearms in person.

 
 

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C. Description of the Scheme

8. Beginning at least in or around November 2020 and
continuing until at least in or around March 2021, defendants D-1
CHAUNCEY WILLIAMS, D-2 MIKE CHAHOUA, D-3 ANTONIO
JACKSON, D-4 BISHOP ALLEN, D-5 GARCIA MOSES, D-6 DONTE
TURNER, D-7 REGINALD SMALL, D-8 ESHON ROSE, D-9 JAMES
JACKSON, and D-10 EMMANUEL STEVENS devised and
implemented a scheme to obtain and use stolen credit card information
to purchase firearms from online retailers, enlist straw purchasers to
retrieve the firearms in-person from a local FFL in exchange for
compensation, and then receive the stolen firearms to either personally
possess and use or to re-sell the stolen firearms for profit.

9. D-1 WILLIAMS, D-2 CHAHOUA, and D-3 JACKSON
purchased stolen credit card information online. The stolen card
information consisted of the means of identification of other persons, in
the form of stolen credit card information—including the 16-digit credit
card number, Card Verification Value (CVV), expiration date, and

cardholder name and billing address.

 
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10. D-1 WILLIAMS, D-2 CHAHOUA, and D-3 JACKSON
conspired with and recruited straw purchasers—D-4 ALLEN, D-5
MOSES, D-6 TURNER, D-7 SMALL, D-8 ROSE, D-9 J. JACKSON, and
D-10 STEVENS—for the planned transactions, often asking the straw
purchaser to send them their name, address, and other contact
information to be used for the online purchase of the firearms.

11. D-1 WILLIAMS, D-2 CHAHOUA, and D-3 JACKSON placed

orders for firearms from online firearm retailers using the stolen credit

 

card information, along with the straw purchaser’s name, address, and
other contact information, and then selected a local FFL from which to
retrieve the firearm.

12. Once the firearms were delivered to the local FFL, D-1
WILLIAMS, D-2 CHAHODA, and D-8 JACKSON directed the
designated straw purchaser to pick up the purchased firearms from the
local FFL. When the straw purchasers picked up the firearms, they
filled out an ATF Form 4473 on which they fraudulently attested to
being the actual transferees/buyers of the firearm. The straw
purchasers then usually gave the firearms to D-1 WILLIAMS, D-2

CHAHOUDA, and D-3 JACKSON, who in turn either sold the firearms or
 

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kept them for their own personal use. Occasionally, the straw

purchasers were permitted to keep a firearm as compensation.

IV. THE CHARGES

Count 1
Conspiracy to Commit Wire Fraud — 18 USC § 1349

D-1 CHAUNCEY WILLIAMS
D-2 MIKE CHAHOUA
D-3 ANTONIO JACKSON
D-4 BISHOP ALLEN
D-5 GARCIA MOSES
D-6 DONTE TURNER
D-7 REGINALD SMALL
D-8 ESHON ROSE
D-9 JAMES JACKSON
D-10 EMMANUEL STEVENS

13. Paragraphs 1 — 12 of this Indictment are realleged and
incorporated by reference as though fully set forth herein.

14. Beginning as early as in or around November 2020 and
continuing through at least in or around March 2021, in the Eastern

District of Michigan, and elsewhere, the defendants D-1 WILIAMS, D-2

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CHAHOUA, D-3 JACKSON, D-4 ALLEN, D-5 MOSES, D-6 TURNER,
D-7 SMALL, D-8 ROSE, D-9 J. JACKSON, and D-10 STEVENS did
knowingly and voluntarily conspire, confederate, and agree with each
other to commit wire fraud, that is, to devise and execute a scheme and
artifice to defraud and obtain money and property by means of false and
fraudulent pretenses, representations, and promises, and for the
purpose of executing and attempting to execute the scheme, transmitted
and caused to be transmitted by means of wire communications in

interstate commerce, writings, signs, signals and sounds, all in violation

of Title 18, United States Code, Sections 1349 and 1348.

The Purpose of the Conspiracy
15. Paragraphs 1 — 14 of this Indictment are realleged and

incorporated by reference as though fully set forth herein.

The Manner and Means of the Conspiracy
16. It was part of the conspiracy that D-1 WILLIAMS, D-2
CHAHOUA, and D-3 JACKSON obtained the means of identification of
third parties, namely, credit card information, to include names, billing
address, account numbers, expiration dates, and CVVs, without lawful

authority, by purchasing and downloading the stolen credit card

 
 

 

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information using the internet with the intent to use the stolen credit
card information to purchase firearms online.

17. It was part of the conspiracy that D-1 WILLIAMS, D-2
CHAHOUA, and D-3 JACKSON, used the stolen credit card
information to purchase firearms online and direct them to be shipped
in interstate commerce to an FF'L in the Eastern District of Michigan,
using the names and addresses of other members of the conspiracy,
with the other member of the conspiracy’s knowledge and consent. The
other member of the conspiracy’s name would be listed as the purchaser
of the firearm, and the stolen credit card information would be used as
the billing information.

18. It was part of the conspiracy that some members of the
conspiracy, under direction of D-1 WILLIAMS, D-2 CHAHOUA, and D-
3 JACKSON, would go to an FFL in the Eastern District of Michigan to
receive and pick up the firearms fraudulently purchased over the
internet. They would make false statements on the ATF 4473 while
picking up the firearm, including attesting to being the actual

transferees/buyers of the firearm.

 
 

 

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19. It was part of the conspiracy that the firearms picked up by
members of the conspiracy would then be given to D-1 WILLIAMS, D-2
CHAHOUA, and D-3 JACKSON in exchange for compensation in the
form of U.S. currency or firearms.

20. It was part of the conspiracy that D-1 WILLIAMS, D-2
CHAHOUA, and D-3 JACKSON kept and used the firearms or sold
them indiscriminately to other individuals for profit, without regard to
whether those individuals could legally possess a firearm and with
reasonable cause to believe that those individuals were prohibited from
possessing or receiving firearms.

21. Some of the firearms purchased, possessed, or received as
part of the conspiracy were later recovered in possession of individuals

who are prohibited from possessing or receiving firearms.

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Counts 2 - 8
Wire Fraud — 18 USC § 1343
D-1 CHAUNCEY WILLIAMS
D-2 MIKE CHAHOUA
D-3 ANTONIO JACKSON
D-4 BISHOP ALLEN
D-5 GARCIA MOSES
D-6 DONTE TURNER
D-7 REGINALD SMALL
THE SCHEME

22. Beginning at an exact date unknown, but as early as in or
around November 2020 and continuing through at least in or around
March 2021, the defendants devised and intended to devise a scheme to
defraud both online and local FF Ls, and to obtain money and property
by means of materially false and fraudulent pretenses, representations

and promises.

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THE MANNER AND MEANS OF THE SCHEME

 

23. The Grand Jury realleges and incorporates by reference

paragraphs 16 — 21 as a description of the manner and means of the

conspiracy.

24. Onor about each of the dates set forth below, in the Eastern

District of Michigan and elsewhere, the defendants for the purpose of

executing the scheme described above, and attempting to do so, caused

to be transmitted by means of wire communication in interstate

commerce the signals and sounds described below for each count, each

transmission constituting a separate count:

 

 

 

 

 

Count Date Defendant Description
2 11/13/2020 | D-1 Chauncey Williams Purchase of
D-5 Garcia Moses Diamondback, DB15,
7.62 caliber pistol
from OFR-1
3 1/9/2021 | D-1 Chauncey Williams Purchase of two Glock
D-5 Garcia Moses 43 9mm pistols from
OFR-2
4 2/4/2021 D-1 Chauncey Williams Purchase of two
D-5 Garcia Moses Adams Arms, AA15,
5.56 caliber rifles and
a Century Arms,
VSKA47, 7.62 caliber
rifle from OFR-2

 

 

 

 

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Count Date

Defendant

Description

 

5 1/28/2021

D-3 Antonio Jackson
D-4 Bishop Allen

Purchase of a H&K
VP9 pistol and an
Alex Pro Firearms
APF-15 rifle from
OFR-2

 

6 3/10/2021

D-3 Antonio Jackson
D-6 Donte Turner

Purchase of a Glock 17
pistol, a Glock 43X
pistol, and a Glock 23
pistol from OFR-2

 

7 1/20/2021

D-2 Mike Chahoua
D-7 Reginald Small

Purchase of a
Springfield XD 9mm
pistol and a Glock 23
.40 caliber pistol from

OFR-1

 

 

8 1/22/2021

 

 

D-2 Mike Chahoua
D-7 Reginald Small

 

Purchase of a SCCY
CPX 9mm pistol, a
Ruger LC9 9mm
pistol, anda
Springfield XD .45
caliber pistol from
OFR-2

 

 

All in violation of Title 18, United States Code, Section 1348.

Counts 9 - 12

Aggravated Identity Theft — 18 USC § 1028A(a)(1)

D-1 CHAUNCEY WILLIAMS

D-2 MIKE CHAHOUA

D-3 ANTONIO JACKSON

25. On or about the following dates, in the Eastern District of

Michigan, the defendants, did knowingly use and transfer, without

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lawful authority, a means of identification of another person during and
in relation to a felony violation enumerated in Title 18 United States
Code, Section 1028A(c), to wit, wire fraud, under Title 18, United States
Code, Section 1348, knowing that the means of identification belonged
to another actual person, in violation of Title 18, United States Code,

Section 1028A(a)(1).

 

 

 

 

 

 

Count Defendant Date Victim
9 D-2 Mike Chahoua January 29, 2021 N.G.
10 D-3 Antonio Jackson January 28, 2021 M.W.
11 D-1 Chauncey Williams January 30, 2021 N.G.

D-2 Mike Chahoua
12 D-3 Antonio Jackson January 30, 2021 L.L.

 

 

 

 

 

Counts 13 - 17

Inducing a False Statement in the Acquisition of a Firearm —
18 USC §§ 2, 922(a)(6)

D-1 CHAUNCEY WILLIAMS
D-2 MIKE CHAHOUA
D-3 ANTONIO JACKSON
26. On or about the following dates, in the Eastern District of

Michigan, in connection with the acquisition of firearms from a licensed

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dealer of firearms within the meaning of Chapter 44, Title 18, United
States Code, the defendants aided, abetted, counseled, commanded,
induced and procured another individual to knowingly make a false and
fictitious statement to a licensed dealer of firearms, which statement
was intended and likely to deceive the dealer, as to a fact material to
the lawfulness of such sale of the said firearm under chapter 44 of Title
18 in that the defendant aided, abetted, counseled, commanded,
induced, and procured another individual to make the false or fictitious
statement that another individual was the actual transferee/buyer of
the firearm. On the dates set forth below, the individual knowingly
made the false statement to a licensed dealer of firearms, which
statement was intended and likely to deceive the dealer, in violation of

Title 18, United States Code, Sections 922(a)(6), 924(a)(2), and 2.

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Count Defendant Date of Licensed Firearm
False Dealer of
Statement| Firearms.
13 | D-1 Chauncey Williams 1/22/2021 Firearm 2 Glock
Retailer 1 Model 43,
(FR-1) 9mm caliber
pistols
FN Model
509, 9mm
caliber pistol
Springfield
Armory XD
tactical, .45
caliber pistol
14 | D-2 Mike Chahoua 11/27/2020 Firearm Glock 19
Retailer 2 pistol
(FR-2)
15 | D-2 Mike Chahoua 1/28/2021 Firearm 2 FNH 509
Retailer 3 pistols
(FR-3)
16 | D-2 Mike Chahoua 1/28/2021 Firearm FNH 509
Retailer 4 pistol
(FR-4)
17 =| D-3 Antonio Jackson 3/18/2021 Firearm Glock 17
Retailer 5 pistol
(FR-5)
Glock 438X
pistol
Glock 23
pistol

 

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Counts 18 - 39

Making a False Statement in the Acquisition of a Firearm —
18 USC § 922(a)(6)

D-4 BISHOP ALLEN
D-5 GARCIA MOSES
D-6 DONTE TURNER
D-7 REGINALD SMALL
D-8 ESHON ROSE
D-9 JAMES JACKSON
D-10 EMMANUEL STEVENS

27. On or about the following dates, in the Eastern District of
Michigan, in connection with the acquisition of firearms from a licensed
dealer of firearms within the meaning of Chapter 44, Title 18, United
States Code, the defendants knowingly made a false and fictitious
statement to a licensed dealer of firearms, which statement was
intended and likely to deceive the dealer, as to a fact material to the
lawfulness of such sale of the said firearm to the defendant under
chapter 44 of Title 18 in that the defendant represented that he was the
actual transferee/buyer of the firearm; in violation of Title 18, United

States Code, Sections 922(a)(6) and 924(a)(2).

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Count Defendant Date of Licensed Firearm
False Dealer of
Statement Firearms
18 D-4 Bishop Allen 11/27/2020 Firearm American
Retailer 2 Tactical,
(FR-2) Omni hybrid
pistol
Glock 19
pistol
19 |D-4 Bishop Allen 1/28/2021 Firearm FNH 509
Retailer 4 pistol
(FR-4)
20 D-4 Bishop Allen 1/28/2021 Firearm 2 FNH 509
Retailer 3 pistols
(FR-3)
21 D-4 Bishop Allen 2/3/2021 Firearm H&K VP9
Retailer 6 pistol
(FR-6)
Alex Pro
Firearms
APF-15 Rifle
22 D-4 Bishop Allen 2/3/2021 Firearm Century
Retailer 2 Arms Draco
(FR-2) pistol
Canik
TP9OSFX
pistol
23 D-4 Bishop Allen 2/4/2021 Firearm CZ Scorpion
Retailer 7
(FR-7)

 

 

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Count | Defendant Date of Licensed Firearm
False Dealer of
Statement Firearms
24 D-5 Garcia Moses 11/23/2020 Firearm Diamondback
Retailer 8 DB15, 7.62
(FR-8) caliber pistol
Glock, G20,
10mm pistol
Two Century
Arms Draco
7.62 caliber
pistols
Springfield
Armory, XD
M 9mm
pistol
25 D-5 Garcia Moses 11/25/2020 Firearm Smith &
Retailer 1 | Wesson, SD 9
(FR-1) VE 9mm
pistol
26 D-5 Garcia Moses 1/22/2021 Firearm FN 509 9mm
Retailer 1 pistol
(FR-1)
Springfield,
EX, .45
caliber pistol
Two Glock
G43 9mm
pistols

 

 

 

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Count | Defendant Date of Licensed Firearm
False Dealer of
Statement Firearms
27 D-5 Garcia Moses 2/18/2021 Firearm Two Adams
Retailer 2. | Arms, AA15,
(FR-2) 5.56 caliber
rifles
Century
Arms,
VSKA47,
7.62 caliber
rifle
28 D-6 Donte Turner 3/18/2021 Firearm Glock 17
Retailer 5 pistol
(FR-5)
Glock 43X
pistol
Glock 23
pistol
29 D-7 Reginald Small 1/29/2021 Firearm Springfield
Retailer 9 XDS .45
(FR-9) caliber pistol
Ruger LC9
9mm pistol
30 =| D-7 Reginald Small 1/29/2021 Firearm Beretta APX
Retailer 10 9mm pistol
(FR-10)
Springfield
XD .45
caliber pistol
31 D-7 Reginald Small 2/3/2021 Firearm FN FNX .45
Retailer 4 | caliber pistol
(FR-4)

 

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Count | Defendant Date of Licensed Firearm
False Dealer of
Statement Firearms
32 D-7 Reginald Small 2/9/2021 Firearm Glock 23 .40
Retailer 11 | caliber pistol
(FR-11)
Springfield
XD9 9mm
pistol
33 D-7 Reginald Small 2/10/2021 Firearm SCCY CPX
Retailer 4 9mm pistol
(FR-4)
Ruger LC9
9mm pistol
Springfield
XD .45
caliber pistol
34 D-7 Reginald Small 2/13/2021 Firearm Century
Retailer 12 Arms Mini
(FR-12) Draco 7.62
caliber pistol
Glock 43X
9mm pistol
35 D-7 Reginald Small 3/7/2021 Firearm Springfield
Retailer 13 XDI 9mm
(FR-13) pistol
Century
Arms Draco
7.62 caliber
pistol
36 D-8 Eshon Rose 2/2/2021 Firearm Ruger AR
Retailer 2 5.56 caliber
(FR-2) pistol
Glock G17
9mm pistol

 

 

 

 

 

 

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Count | Defendant Date of Licensed Firearm
False Dealer of
Statement Firearms
37 D-9 James Jackson 12/4/2020 Firearm Springfield
Retailer 7 XD 9mm
(FR-7) pistol
38 D-9 James Jackson 12/7/2020 Firearm Springfield
Retailer 8 XD .40
(FR-8) caliber pistol
Smith &
Wesson
MP15 .22
caliber rifle
39 D-10 Emmanuel 2/8/2021 Firearm Beretta APX
Stevens Retailer 2 9mm pistol
(FR-2)
Ruger
Security 9
9mm pistol
Sig Sauer
P365X 9mm
pistol
Smith &
Wesson
MPShield
9mm pistol

 

 

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Counts 40 - 66

Possession/Receipt of a Stolen Firearm — 18 USC § 922(j)
D-1 CHAUNCEY WILLIAMS
D-2 MIKE CHAHOUA
D-3 ANTONIO JACKSON
D-4 BISHOP ALLEN
D-5 GARCIA MOSES
D-6 DONTE TURNER
D-7 REGINALD SMALL
D-8 ESHON ROSE
D-9 JAMES JACKSON
D-10 EMMANUEL STEVENS

28. Onor about the following dates, in the Eastern District of
Michigan, the defendants knowingly possessed and received the
following stolen firearms, which had been shipped and transported in
interstate commerce, knowing and having reasonable cause to believe
these firearms were stolen, in violation of Title 18, United States Code,

Sections 922G) and 924(a)(2).

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Count Defendant Date of Firearm
Receipt or
Possession
40 D-1 Chauncey Williams 1/22/2021 2 Glock Model 43,
9mm caliber pistols
FN Model 509,
9mm caliber pistol
Springfield Armory
XD tactical, .45
caliber pistol
A] D-2 Mike Chahoua 11/27/2020 American Tactical,
Omni hybrid pistol
Glock 19 pistol
42. D-2 Mike Chahoua 1/28/2021 2 FNH 509 pistols
43 D-2 Mike Chahoua 1/28/2021 FNH 509 pistol
44 D-3 Antonio Jackson 3/18/2021 Glock 17 pistol
Glock 43X pistol
Glock 23 pistol
45 D-4 Bishop Allen 11/27/2020 American Tactical,
Omni hybrid pistol
Glock 19 pistol
46 D-4 Bishop Allen 1/28/2021 FNH 509 pistol
47 D-4 Bishop Allen 1/28/2021 Two FNH 509
pistols
48 D-4 Bishop Allen 2/3/2021 H&K VP9 pistol

 

 

 

Alex Pro Firearms
APF-15 rifle

 

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Count

Defendant

Date of
Receipt or
Possession

Firearm

 

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D-4 Bishop Allen

2/3/2021

Century Arms
Draco pistol

Canik TP9SFX
pistol

 

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D-4 Bishop Allen

2/4/2021

CZ Scorpion pistol

 

D1

D-5 Garcia Moses

11/23/2020

Two Century Arms,
Draco, 7.62 caliber
pistols

Diamondback
DB15, 7.62 caliber
pistol
Springfield
Armory, XD M,
9mm pistol

Glock, G20, 10mm
pistol

 

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D-5 Garcia Moses

11/25/2020

Smith & Wesson,
SD 9 VE 9mm
pistol

 

 

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D-5 Garcia Moes

1/22/2021

 

 

FN 509 9mm pistol

Springfield, EX, .45
caliber pistol

Two Glock G43
9mm pistols

 

 

25

 

 

 
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Count

Defendant

Date of
Receipt or
Possession

Firearm

 

54

D-5 Garcia Moses

2/18/2021

Two Adams Arms,
AA15, 5.56 caliber
rifles

Century Arms,
VSKA47, 7.62

caliber rifle

 

55

D-6 Donte Turner

3/18/2021

Glock 48X pistol
Glock 17 pistol

Glock 28 pistol

 

56

D-7 Reginald Small

1/29/2021

Springfield XDS
.45 caliber pistol

Ruger LC9 9mm
pistol

 

57

D-7 Reginald Small

1/29/2021

Beretta APX 9mm
pistol

Springfield XD .45
caliber pistol

 

58

D-7 Reginald Small

2/3/2021

FN FNX .45 caliber
pistol

 

 

59

 

D-7 Reginald Small

2/9/2021

 

 

Glock 23 .40 caliber
pistol

Springfield XD9
9mm pistol

 

26

 

 

 
 

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Count

Defendant

Date of
Receipt or
Possession

Firearm

 

60

D-7 Reginald Small

2/10/2021

SCCY CPX 9mm
pistol

Ruger LC9 9mm
pistol

Springfield XD .45
caliber pistol

 

61

D-7 Reginald Small

2/13/2021

Century Arms Mini
Draco 7.62 caliber
pistol

Glock 43X 9mm
pistol

 

62

D-7 Reginald Small

3/7/2021

Springfield XD9
9mm pistol

Century Arms
Draco 7.62 caliber
pistol

 

63

D-8 Eshon Rose

2/2/2021

Ruger AR 5.56
caliber pistol

Glock G17 9mm
pistol

 

64

D-9 James Jackson

12/4/2020

Springfield XD
9mm pistol

 

 

65

 

D-9 James Jackson

12/7/2020

 

 

Springfield XD9 .40
caliber pistol

Smith & Wesson
MP15 .22 caliber
rifle

 

 

27

 

 

 
 

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Count | Defendant Date of Firearm
Receipt or
Possession
66 D-10 Emmanuel Stevens 2/8/2021 Beretta APX 9mm
pistol

Ruger Security 9
9mm pistol

Sig Sauer P365X
9mm pistol

Smith & Wesson
MPShield 9mm
pistol

 

 

 

 

 

 

Count 67
Making or Inducing a False Statement in the
Acquisition of a Firearm -
18 USC §§ 2, 922(a)(6)
D-1 CHAUNCEY WILLIAMS
D-5 GARCIA MOSES
29. On or about July 24, 2020, in the Eastern District of

Michigan, in connection with the acquisition of a firearm—a Glock 19
GEN 4 9mm pistol—from a licensed dealer of firearms within the
meaning of Chapter 44, Title 18, United States Code, the defendants

knowingly made and induced a false and fictitious statement to a

licensed dealer of firearms, which statement was intended and likely to

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deceive the dealer, as to a fact material to the lawfulness of such sale of
the said firearm to the defendant under chapter 44 of Title 18 in that
the defendant represented that he was the actual transferee/buyer of

the firearm; in violation of Title 18, United States Code, Sections

922(a)(6), 924(a)(2), and 2.

Forfeiture Allegations
(18 U.S.C. §§ 981, 924 and 28 U.S.C. § 2461)

1. The allegations contained in Counts One through Eight and
Thirteen through Sixty-Seven of this Indictment are hereby re-alleged
and incorporated by reference for the purpose of alleging forfeiture
pursuant to Title 18, United States Code, Sections 981 and 924, and
Title 28, United States Code, Section 2461.

2. Upon conviction of the offense charged in Count One of this
Indictment in violation of Title 18, United States Code, Section 1349,
defendants D-1 CHAUNCEY WILIAMS, D-2 MIKE CHAHOUA, D-3
ANTONIO JACKSON, D-4 BISHOP ALLEN, D-5 GARCIA MOSES, D-
6 DONTE TURNER, D-7 REGINALD SMALL, D-8 ESHON ROSE, D-9
JAMES JACKSON, and D-10 EMMANUEL STEVENS shall forfeit to

the United States any property, real or personal, which constitutes or is

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derived from proceeds, obtained directly or indirectly, as a result of such
violation, pursuant to Title 18, United States Code, Section 981(a)(1)(C)
together with Title 28, United States Code, Section 2461(c).

3. Upon conviction of any of the offenses charged in Counts
Two through Eight of this Indictment in violation of Title 18, United
States Code, Section 1343, defendants D-1 WILIAMS, D-2 CHAHOUA,
D-3 JACKSON, D-4 ALLEN, D-5 MOSES, D-6 TURNER, and D-7
SMALL shall forfeit to the United States any property, real or personal,
which constitutes or is derived from proceeds, obtained directly or
indirectly, as a result of the violations, pursuant to Title 18, United
States Code, Section 981(a)(1)(C) together with Title 28, United States
Code, Section 2461(c).

4. Upon conviction of any of the offenses charged in Counts
Thirteen through Seventeen of this Indictment, in violation of Title 18,
United States Code, Sections 2 and 922(a)(6), defendants D-1
WILIAMS, D-2 CHAHOUA, and D-3 JACKSON shall forfeit to the
United States, pursuant to Title 18, United States Code, Section 924(d)
together with Title 28, United States Code, Section 2461(c), any firearm

and ammunition involved in or used in said offenses.

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5. | Upon conviction of any of the offenses charged in Counts
Highteen through Thirty-Nine of this Indictment, in violation of Title
18, United States Code, Section 922(a)(6), defendants D-4 ALLEN, D-5
MOSES, D-6 TURNER, D-7 SMALL, D-8 ROSE, D-9 J. JACKSON, and
D-10 STEVENS shall forfeit to the United States, pursuant to Title 18,
United States Code, Section 924(d) together with Title 28, United
States Code, Section 2461(c), any firearm and ammunition involved in
or used in said offenses.

6. Upon conviction of any of the offenses charged in Counts
Forty through Sixty-Six of this Indictment, in violation of Title 18,
United States Code, Section 922(j), defendants D-1 WILIAMS, D-2
CHAHOUA, D-3 JACKSON, D-4 ALLEN, D-5 MOSES, D-6 TURNER,
D-7 SMALL, D-8 ROSE, D-9 J. JACKSON, and D-10 STEVENS shall
forfeit to the United States, pursuant to Title 18, United States Code,
Section 924(d) together with Title 28, United States Code, Section
2461(c), any firearm and ammunition involved in or used in said

offenses.

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7. Upon conviction of the offense charged in Count Sixty-Seven
of this Indictment, in violation of Title 18, United States Code, Sections
2 and 922(a)(6), defendants D-1 WILIAMS and D-5 MOSES, shall
forfeit to the United States, pursuant to Title 18, United States Code,
Section 924(d) together with Title 28, United States Code, Section
2461(c), any firearm and ammunition involved in or used in said
offense.

8. Substitute Assets: If the property described above as being
subject to forfeiture, as a result of any act or omission of the convicted
defendant:

a. Cannot be located upon the exercise of due diligence;

b. Has been transferred or sold to, or deposited with, a third
party;

c. Has been placed beyond the jurisdiction of the Court;

d. Has been substantially diminished in value; or

e. Has been commingled with other property that cannot be
subdivided without difficulty;

it is the intent of the United States, pursuant to Title 21, United States

Code, Section 853(p) as incorporated by Title 28, United States Code,

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Section 2461(c), to seek to forfeit any other property of the convicted
defendant up to the value of the forfeitable property described above.

9. Money Judgment: Upon conviction of violating any of the
offenses alleged in Counts One through Eight of this Indictment, the
convicted defendants shall be ordered to pay the United States a sum of
money equal to the total amount of proceeds the convicted defendants
obtained as a result of such violations.

THIS IS A TRUE BILL

s/ Grand Jury Foreperson
GRAND JURY FOREPERSON

 

SAIMA 8. MOHSIN
Acting United States Attorney

s/ Benjamin Coats

BENJAMIN COATS

Chief, Major Crimes Unit
Assistant United States Attorney

 

s/Erin Ramamurthy

ERIN RAMAMURTHY
Assistant United States Attorney

 

s/Andrew Picek
ANDREW PICEK
Assistant United States Attorney

 

Dated: September 23, 2021

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Case: 2:21-cr-20610
Judge: Goldsmith, Mark A.
United States District Court Criminal Case Co’ uJ: Grand, David R.
Eastern District of Michigan Filed: 09-23-2021 At 02:31 PM
INDI USA V. SEALED MATTER (DA)

NOTE: It is the responsibility of the Assistant U.S. Attorney signing this form to comprete n accuratery m an wopee we

 

 

 

 
   

 

¢| Companion Case Number:

This may be a companion case based upon LCrR 57.10 (b)(4)": Judge Assigned:

 

 

 

 

Ll Yes No AUSA’s Initials: £21 SS

 

Case Title: USA v. Chauncey Williams, et al

County where offense occurred : Wayne County and elsewhere

¥_Indictment/ Inforrffation --- no prior complaint.
Indictment/ Information --- based upon prior complaint [Case number: ]
Indictment/ Information --- based upon LCrR 57.10 (d) [Complete Superseding section below].

 

 

Superseding to Case No:

Judge:

 

 

[_]Corrects errors; no additional charges or defendants.
[_]Involves, for plea purposes, different charges or adds counts.
[_]Embraces same subject matter but adds the additional defendants or charges below:

Defendant name Charges Prior Complaint (if applicable)

 

Please take notice that the below listed Assistant United States Attorney is the attorney of record for
the above captioned case.

    

September 23, 2021
Date

   

Erin Ramamurthy
Assistant United States Attorney

211 W. Fort Street, Suite 2001

Detroit, Ml 48226-3277

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Fax: (313) 226-2372

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Attorney Bar #; P81645

1 Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, or (2) the same
or related parties are present, and the cases arise out of the same transaction or occurrence. Cases may be companion cases
even though one of them may have already been terminated.

5/16

 

 
